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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :
                                                :
              v.                                :    Criminal Case No. 21-582 (CRC)
                                                :
MICHAEL A. SUSSMANN,                            :
                                                :
                        Defendant.              :


    GOVERNMENT’S MOTION TO INQUIRE INTO POTENTIAL CONFLICTS OF
                            INTEREST

        1.      The United States of America, by and through its attorney, Special Counsel John H.

Durham, respectfully moves this Court to inquire into potential conflicts of interest arising from the

representation of the defendant by his current counsel, Latham & Watkins LLP (“Latham”). The

Government has discussed these matters with the defense and believes that any potential conflicts

likely could be addressed with a knowing and voluntary waiver by the defendant upon consultation

with conflict-free counsel as appropriate. The Government believes that any such waiver should

be put on the record prior to trial. As set forth in further detail below, it is possible that conflicts of

interest could arise from the fact that Latham and/or its employees (i) previously represented others

in the Special Counsel’s investigation whose interests may conflict with those of the defendant, (ii)

previously represented the defendant and his prior employer in connection with events that likely

will be relevant at trial or at any sentencing, and (iii) maintained professional and/or personal

relationships with individuals who could be witnesses in these proceedings. Accordingly, for the

reasons set forth below, the government respectfully requests that the Court inquire into the

potential conflicts of interest set forth herein. Defense counsel has advised that the defendant has


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been apprised of these issues, understands that he has the right to consult independent counsel, and

presently intends to waive any potential conflict of interest. In support of this Motion, the

government represents the following:

                                  FACTUAL BACKGROUND

       2.      The defendant is charged in a one-count indictment with making a materially false

statement to the FBI, in violation of Title 18, United States Code, Section 1001 (the “Indictment”).

As set forth in the Indictment, on Sept. 19, 2016 – less than two months before the 2016 U.S.

Presidential election – the defendant, a lawyer at a large international law firm (“Law Firm-1”) that

was then serving as counsel to the Clinton Campaign, met with the FBI General Counsel at FBI

Headquarters in Washington, D.C.        The defendant provided the FBI General Counsel with

purported data and “white papers” that allegedly demonstrated a covert communications channel

between the Trump Organization and a Russia-based bank (“Russian Bank-1”). The Indictment

alleges that the defendant lied in that meeting, falsely stating to the General Counsel that he was

not providing the allegations to the FBI on behalf of any client. In fact, the defendant had assembled

and conveyed the allegations to the FBI on behalf of at least two specific clients, including (i) a

technology executive (“Tech Executive-1”) at a U.S.-based Internet company (“Internet Company-

1”), and (ii) the Clinton Campaign.

       3.      The defendant’s billing records reflect that the defendant repeatedly billed the

Clinton Campaign for his work on the Russian Bank-1 allegations. In compiling and disseminating

these allegations, the defendant and Tech Executive-1 also had met and communicated with another

law partner at Law Firm-1 who was then serving as General Counsel to the Clinton Campaign

(“Campaign Lawyer-1”).


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       4.      The Indictment also alleges that, beginning in approximately July 2016, Tech

Executive-1 had worked with the defendant, a U.S. investigative firm retained by Law Firm-1 on

behalf of the Clinton Campaign, numerous cyber researchers, and employees at multiple Internet

companies to assemble the purported data and white papers. In connection with these efforts, Tech

Executive-1 exploited his access to non-public and/or proprietary Internet data. Tech Executive-1

also enlisted the assistance of researchers at a U.S.-based university who were receiving and

analyzing large amounts of Internet data in connection with a pending federal government

cybersecurity research contract. Tech Executive-1 tasked these researchers to mine Internet data to

establish “an inference” and “narrative” tying then-candidate Trump to Russia. In doing so, Tech

Executive-1 indicated that he was seeking to please certain “VIPs,” referring to individuals at Law

Firm-1 and the Clinton Campaign.

       5.      The Government’s evidence at trial will also establish that among the Internet data

Tech Executive-1 and his associates exploited was domain name system (“DNS”) Internet traffic

pertaining to (i) a particular healthcare provider, (ii) Trump Tower, (iii) Donald Trump’s Central

Park West apartment building, and (iv) the Executive Office of the President of the United States

(“EOP”). (Tech Executive-1’s employer, Internet Company-1, had come to access and maintain

dedicated servers for the EOP as part of a sensitive arrangement whereby it provided DNS

resolution services to the EOP. Tech Executive-1 and his associates exploited this arrangement by

mining the EOP’s DNS traffic and other data for the purpose of gathering derogatory information

about Donald Trump.)

       6.      The Indictment further details that on February 9, 2017, the defendant provided an

updated set of allegations – including the Russian Bank-1 data and additional allegations relating


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to Trump – to a second agency of the U.S. government (“Agency-2”). The Government’s evidence

at trial will establish that these additional allegations relied, in part, on the purported DNS traffic

that Tech Executive-1 and others had assembled pertaining to Trump Tower, Donald Trump’s New

York City apartment building, the EOP, and the aforementioned healthcare provider. In his meeting

with Agency-2, the defendant provided data which he claimed reflected purportedly suspicious

DNS lookups by these entities of internet protocol (“IP”) addresses affiliated with a Russian mobile

phone provider (“Russian Phone Provider-1”). The defendant further claimed that these lookups

demonstrated that Trump and/or his associates were using supposedly rare, Russian-made wireless

phones in the vicinity of the White House and other locations. The Special Counsel’s Office has

identified no support for these allegations. Indeed, more complete DNS data that the Special

Counsel’s Office obtained from a company that assisted Tech Executive-1 in assembling these

allegations reflects that such DNS lookups were far from rare in the United States. For example,

the more complete data that Tech Executive-1 and his associates gathered – but did not provide to

Agency-2 – reflected that between approximately 2014 and 2017, there were a total of more than 3

million lookups of Russian Phone-Provider-1 IP addresses that originated with U.S.-based IP

addresses. Fewer than 1,000 of these lookups originated with IP addresses affiliated with Trump

Tower. In addition, the more complete data assembled by Tech Executive-1 and his associates

reflected that DNS lookups involving the EOP and Russian Phone Provider-1 began at least as early

2014 (i.e., during the Obama administration and years before Trump took office) – another fact

which the allegations omitted.

       7.      In his meeting with Agency-2 employees, the defendant also made a substantially

similar false statement as he had made to the FBI General Counsel. In particular, the defendant


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asserted that he was not representing a particular client in conveying the above allegations. In truth

and in fact, the defendant was representing Tech Executive-1 – a fact the defendant subsequently

acknowledged under oath in December 2017 testimony before Congress (without identifying the

client by name).

                                       APPLICABLE LAW

       8.      The Sixth Amendment guarantees that “[i]n all criminal prosecutions, the accused

shall ... have the Assistance of Counsel for his defense.” U.S. Const. Amend. VI. A defendant's

Sixth Amendment right includes the “right to representation that is free from conflicts of interest,”

Wood v. Georgia, 450 U.S. 261, 271 (1981), but also carries a “presumption in favor of counsel of

choice,” Wheat v. United States, 486 U.S. 153, 160 (1988). At the same time, a criminal defendant's

right to retain counsel of his choice is not absolute. The “essential aim” of the Sixth Amendment

“is to guarantee an effective advocate for each criminal defendant rather than to ensure that a

defendant will inexorably be represented by the lawyer whom he prefers.” Wheat, 46 U.S. at 159.

Thus, even if a defendant waives the right to conflict-free representation, the presumption in favor

of defendant's counsel of choice “may be overcome not only by a demonstration of actual conflict

but also by a showing of a serious potential for conflict.” Wheat, 486 U.S. at 163–64.

       9.      As the D.C. Circuit explained in United States v. Lopesierra–Gutierrez, 708 F.3d

193, 199–200 (D.C. Cir. 2013), “a defendant's counsel-of-choice right may sometimes be trumped

by a conflict of interest.” This is because “where a defendant's chosen counsel suffers from a

conflict of interest, . . . the court's own institutional interests” are implicated. Id. Guaranteeing

conflict-free counsel protects not just defendants’ rights, but also the “‘[f]ederal courts[’] ...

independent interest in ensuring that criminal trials are conducted within the ethical standards of


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the [legal] profession and that legal proceedings appear fair to all who observe them.’” Id.

(alterations in original) (quoting Wheat, 486 U.S. at 161).

        10.     Since the Court has an independent interest in investigating potential conflicts, see

Wheat, 486 U.S. at 161, the Court retains “substantial latitude in refusing waivers of conflicts of

interest not only in those rare cases where an actual conflict may be demonstrated before trial, but

in the more common cases where a potential for conflict exists which may or may not burgeon into

an actual conflict as the trial progresses.” Id. at 163. Accordingly, “[i]f in the context of a particular

case the district court believes a conflict is intolerable, it may decline to accept a defendant's

waiver.” Lopesierra–Gutierrez, 708 F.3d at 202. “In making this determination, a court balances

the defendant's right to choose his representative against both the defendant's countervailing right

to conflict-free representation and the court's independent interest in the integrity of criminal

proceedings.” Id. at 200 (emphasis in original). The key inquiry in this analysis is the “nature and

extent of the conflict.” Id.

                                            DISCUSSION

        11.     The Government respectfully requests that the Court inquire concerning the

following issues that may give rise to potential conflicts of interest with regard to Latham’s current

representation of the defendant:

I.   Latham’s Prior Representations in the Special Counsel’s Investigation

     A. Latham’s Prior Representation of Law Firm-1 and Campaign Lawyer-1 in This
        Investigation

        12.     From approximately July 2020 through approximately July 2021, Latham

represented three separate clients – the defendant, Law Firm-1, and Campaign Lawyer-1 – in



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connection with the Special Counsel’s investigation.1 As part of its representations, Latham

communicated and met with the Special Counsel’s Office and other DOJ officials on behalf of each

of these clients. As noted above, the Indictment alleges that Tech Executive-1 conferred and

consulted with both the defendant and Campaign Lawyer-1 on multiple occasions in connection

with the Russian Bank-1 allegations. As a result, the Government expects that testimony at trial

will address factual issues concerning, among other things, (i) the extent to which the defendant did

or did not inform Campaign Lawyer-1 and Law Firm-1 that he was billing work on the Russian

Bank-1 allegations to the Clinton Campaign, (ii) the extent to which the defendant did or did not

inform or receive instructions from Campaign Lawyer-1 and Law Firm-1 regarding his billing of

the Clinton Campaign and his meeting with the FBI General Counsel, and (iii) the defendant’s

potential motives to mislead the FBI concerning whether he was working with or on behalf of the

Clinton Campaign, Campaign Lawyer-1, and Tech Executive-1. In each of these areas, the

defendant’s interests may diverge from those of Campaign Lawyer-1 and Law Firm-1. In addition,

to the extent that the defendant’s factual accounts might differ from those of Campaign Lawyer-1

and Law Firm-1 on these issues, Latham may already have gained privileged insights to any such

differences from their prior, confidential attorney-client communications. Cf. United States v.

Gotti, 9 F. Supp. 2d 320, 323–25 (S.D.N.Y. 1998) (“attorney-client relationship with the witness or

co-defendant gave rise to continuing obligations of loyalty and confidentiality that may be breached

when the confidences are required to be exploited in, for example, cross examining [a] former




       1
          One of the Latham attorneys who represented the defendant during this time period is now
serving at the U.S. Department of Justice. It is the understanding of the Special Counsel’s Office
that this attorney expeditiously and appropriately recused himself from any involvement in the
Special Counsel’s investigation and these proceedings.
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client”); cf. also United States v. Weaver, 265 F.3d 1]074, 1075–77 (D.C. Cir. 2001) (holding that

counsel’s representation of a client and a potential witness against the client created a conflict of

interest).

        13.      Moreover, it is possible that the defendant, having recently resigned from his

partnership at Law Firm-1, is currently or will become in an adversarial posture with his former

employer. Latham – through its prior representation of Law Firm-1 – likely possesses confidential

knowledge about Law Firm-1’s role in, and views concerning, the defendant’s past activities.

Accordingly, the Government believes that potential conflicts of interest may exist or arise from

Latham’s prior representations of Campaign Lawyer-1 and Law Firm-1 in this investigation.

    B. Law Firm-1’s Representation of the Clinton Campaign and Another Political
       Organization

        14.      Potential conflicts of interest might also arise from the fact that during the time

period when Latham represented all three of the aforementioned clients, one of those clients, Law

Firm-1, was representing both the Clinton Campaign and a related political organization (“Political

Organization-1”) in the Special Counsel’s investigation. Law Firm-1’s representations of those

clients began in approximately May 2021 and ended in approximately July 2021. The Government

believes that Law Firm-1’s prior representations of these entities may give rise to potential conflicts

of interest because it is possible that Law Firm-1 shared confidential facts and/or communications

concerning its representation of those clients with its then-counsel, Latham. In addition, to the

extent the Government offers documents and other evidence at trial that it obtained from the Clinton

Campaign and/or Political Organization-1, Latham’s duties to its former client (Law Firm-1) might

cause its interests to diverge from those of the defendant in connection with such evidence and/or

the cross examination of witnesses. Accordingly, the Government respectfully requests that the

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Court inquire into any potential conflicts, including an examination of whether Law Firm-1’s own

representations of the Clinton Campaign and Political Organization-1 may contribute to or amplify

such conflicts. Gotti, 9 F Supp. 2d at 323-25.

II.      Latham’s Other Representations in Related Matters

         15.     In addition to the above representations, Latham also has represented the defendant,

Law Firm-1, and Campaign Lawyer-1 in other matters that predated the existence of the Special

Counsel’s investigation but which are likely relevant to these proceedings. In particular, the

Government is aware of the following:

      A. Latham’s Representation of the Defendant in his December 2017 Congressional
         Testimony

         16.     Latham served as counsel to the defendant and Law Firm-1 in connection with the

defendant’s December 2017 testimony before the House Permanent Subcommittee on Intelligence.

That testimony addressed the Russian Bank-1 allegations and other matters. At numerous times

during the defendant’s testimony, attorneys from Latham interjected to clarify and/or address issues

relating to attorney-client privilege and other topics.2 In his testimony, the defendant acknowledged

bringing the Russian Bank-1 allegations to the FBI General Counsel and to Agency-2 on behalf of

a specific client, namely, Tech Executive-1 (whom the defendant did not identify by name). The

Government expects to offer this testimony at trial to prove that the defendant knowingly and

intentionally lied when he stated to the FBI General Counsel in September 2016 that he was not

acting on behalf of “any client.” The Government also may seek to establish that the defendant’s

Congressional testimony itself was knowingly and intentionally misleading insofar as it failed to



         2
        Both of the Latham attorneys who were present for the defendant’s testimony (one of
whom is the Department of Justice employee referenced above) have since left the firm.
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disclose that the defendant billed work on the Russian Bank-1 allegations to the Clinton Campaign.

Because Latham attorneys played a role in, and were witnesses to, this testimony and related

conversations, it is possible that their past advice might give rise to a potential conflict of interest.

For example, it is possible that motion practice surrounding the admissibility of this testimony may

require consideration of issues such as the appropriate boundaries of the attorney-client privilege,

the potential waiver of such privilege by the defendant or Tech Executive-1 and the Clinton

Campaign, and/or the potential applicability of an advice of counsel defense. Because Latham

attorneys witnessed the defendant’s testimony and advised both the defendant and his employer in

connection therewith, it is possible that conflicts of interest would arise in connection with these

matters. Gotti, 9 F. Supp. 2d at 324 (“An attorney may be disqualified if he has first-hand

knowledge of events that may be part of the government’s proof at trial.”)

   B. Latham’s Advice to Law Firm-1 in Connection with Public Statements in 2018

       17.       In 2018, Latham also advised Law Firm-1 concerning the drafting and issuance of

statements to the media that Law Firm-1 made concerning the defendant’s October 2016 meeting

with the FBI General Counsel. Those statements – which the defendant appears to have reviewed

or assisted in drafting – were at least partially inaccurate and/or misleading. The Government

therefore may seek to offer these statements at trial pursuant to Rule 404(b) or other provisions of

law. The two statements are, in pertinent part, as follows:

                On or about October 12, 2018, Law Firm-1 issued a statement to multiple media

                 outlets in which the firm stated, in part: “When Sussmann met with [the FBI General

                 Counsel] on behalf of a client, it was not connected to the firm’s representation of

                 the Hillary Clinton Campaign, the DNC or any Political Law Group client.”


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                On or about October 18, 2018, the then-Managing Partner of Law Firm-1 wrote a

                 letter to the editor of a major newspaper in which he asserted, in part, “Mr.

                 Sussmann’s meeting with the FBI General Counsel James Baker was on behalf of a

                 client with no connections to either the Clinton campaign, the DNC or any other

                 Political Law Group client.”

Privilege logs and redacted emails obtained from Law Firm-1 in this investigation reflect that in the

days before the issuance of these statements, Latham attorneys sent, received, and/or were copied

on correspondence relating to the drafting and dissemination of the statements. (Much of the

substance of those emails was redacted and withheld from the Special Counsel’s Office pursuant to

Law Firm-1’s assertion of attorney-client privilege and attorney work product protections).

Because the defendant was aware of and/or reviewed these media statements, the Government may

seek to offer them as evidence pursuant to Rule 404(b) or other provisions of law to establish that

the defendant sought to conceal the Clinton Campaign’s ties to the Russian Bank-1 allegations from

the FBI and others.3 Latham’s advice concerning these statements therefore may become at issue

in motions in limine, trial testimony, or other aspects of these proceedings. Accordingly, Latham

may encounter potential conflicts of interest in advising the defendant concerning past events in

which Latham played a significant role.




       3
          According to counsel for Law Firm-1, the attorneys at Law Firm-1 and Latham who
participated in drafting and/or reviewing these statements were unaware at the time that the
defendant had billed work on the Russian Bank-1 allegations to the Clinton Campaign.

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III.    Defense Counsel’s Prior Interactions with Witnesses or Potential Witnesses

        18.      Based on its review of documents in its investigation and other information, the

Special Counsel’s Office also has learned that one of the members of the defendant’s current

defense team (“Defense Team Member-1”) previously worked as Special Counsel to the then-FBI

Director from 2013 to 2014. In connection with that work, Defense Team Member-1 developed

professional and/or personal relationships with several individuals who later were involved with

and/or knowledgeable of the FBI’s investigation of the Russian Bank-1 allegations. For example,

Defense Team Member-1 appears to have developed a professional relationship with the former

FBI General Counsel to whom the defendant made his alleged false statement and who will likely

be a central witness at trial.4 While it is unlikely that these past interactions and activities will give

rise to an actual conflict of interest, the Government respectfully requests in an abundance of

caution that the Court inquire with the defense concerning whether Defense Team Member-1’s

relationships with persons and entities who might be witnesses in this case could give rise to a

potential conflict or appearance issue and, if so, whether the defendant waives any such conflict.

See Lyle v. Artuz, No 03-CV-5155 (CBA), 2006 WL 1517750 at *20 (E.D.N.Y. May 31, 2006)




        4
          Following his employment at the FBI, Defense Team Member-1 worked from 2014 to
early 2017 as an attorney in the EOP which, as noted above, was involved in certain factual issues
that the Government expects will be relevant at trial and any sentencing proceedings. Latham has
represented to the Government that while employed at the EOP, Defense Team Member-1 had no
role in the aforementioned events or arrangements involving Tech Executive-1, Internet Company-
1, and/or allegations involving the purported use of Russian-made phones. The Government
similarly has not seen evidence to suggest that Defense Team Member-1 had any role in, or direct
knowledge of, the Russian Bank-1 allegations or the FBI’s ensuing investigation.
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(examining whether defense counsel’s relationship with a trial witness gave rise to a conflict of

interest).

                                        CONCLUSION

        For the foregoing reasons, the Court should inquire regarding the potential conflicts of

interest set forth above.


                                            Respectfully submitted,

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